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                 4                                  UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                     ***
                 7       UNITED STATES OF AMERICA,                             Case No. 2:13-CR-18 JCM (GWF)
                 8                                             Plaintiff(s),                      ORDER
                 9              v.
               10        LEON BENZER, et al.,
               11                                            Defendant(s).
               12
               13               Presently before the court is the government’s motion for an evidentiary hearing. (Doc. #
               14       617). The government requests that the court schedule an evidentiary hearing in advance of the
               15       sentencings of trial defendants Keith Gregory, Edith Gillespie, Salvatore Ruvolo, and David Ball.
               16       The government states that such a hearing would assist in resolving common factual issues,
               17       promoting judicial efficiency. (Doc. # 617).
               18               Having considered the government’s motion, the court will grant the motion and set an
               19       evidentiary hearing for Monday, June 15, 2015, at 10:00 am. The government shall file a summary
               20       of the evidence and witnesses it expects to present at the hearing by Friday, May 29, 2015, to allow
               21       defendants to prepare for the hearing. Defendants shall file their responses by Monday, June 8,
               22       2015.
               23               Accordingly,
               24               IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the government’s
               25       motion for an evidentiary hearing, (doc. # 617), be, and the same hereby is, GRANTED.
               26               IT IS FURTHER ORDERED that the parties shall appear for an evidentiary hearing
               27       regarding loss amounts on Monday, June 15, 2015, at 10:00 am.
               28

James C. Mahan
U.S. District Judge
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                1             IT IS FURTHER ORDERED that the government shall file a summary of the evidence and
                2     witnesses it expects to present at the hearing by Friday, May 29, 2015.
                3             IT IS FURTHER ORDERED that defendants shall file their responses by Monday, June 8,
                4     2015.
                5             DATED May 26, 2015.
                6
                7                                          ___________________________________________
                                                           UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                  -2-
